
PER CURIAM
Respondent was arrested and charged with possession of marijuana, providing a false identity to an arresting officer, and multiple DWIs. Following the filing of formal charges, respondent and the Office of Disciplinary Counsel submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Sangbahn Y. Scere, Louisiana Bar Roll number 31958, be suspended from the practice of law for a period of two years.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
